
913 N.E.2d 1241 (2009)
In the Matter of Donald K. McCLELLAN, Respondent.
No. 18S00-0701-DI-41.
Supreme Court of Indiana.
September 29, 2009.

PUBLISHED ORDER GRANTING RELEASE FROM DISCIPLINARY PROBATION
On August 31, 2007, this Court suspended Respondent from the practice of law for a period of 180 days, all but 30 days of which was stayed provided that Respondent complied with certain terms and conditions of probation for a period of two years. On September 9, 2009, the Indiana Supreme Court Disciplinary Commission filed a "No Objection to Termination of Probation," stating Respondent has complied with all the terms of his probation and asking that Respondent be allowed to return to the unconditional practice of law.
Being duly advised, the Court ORDERS that Respondent be released from disciplinary probation and unconditionally reinstated to the practice of law in this State effective immediately.
All Justices concur.
